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                           UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY


  SAYER TECHNOLOGIES, S.L.,
                                                         Civil Action No. 23-2257 (MAS-TJB)
                                  Plaintiff,             Hon. Tonianne J. Bongiovanni, U.S.M.J.

       v.
                                                         DEFENDANT’S RESPONSES TO
                                                         PLAINTIFF’S STATEMENT OF
  VISCOFAN COLLAGEN USA INC.,                            MATERIAL FACTS PURSUANT TO
  f/k/a NITTA CASTINGS INC.,                             L. CIV. R. 56.1

                                  Defendant.




        Defendant, Viscofan Collagen USA Inc. (“Viscofan”), provides the following statement

 responses to Plaintiff’s Rule 56.1 Statement of Material Facts:

        1.      Sayer is a company duly organized and existing under the laws of Spain.

 Declaration of Mr. Zuniga at par. "2".

 Response:      Not disputed.

        2.      While Sayer was founded in 2012, it was is the result of the redenomination of a

 previously existing company called NAVAGLOBAL which had a completely different purpose,

 not in the least related to machine design and/or manufacturing. Declaration of Mr. Zuniga at

 par."2".

 Response:      Not disputed. However, Defendant does not have knowledge to agree or disagree

 with Plaintiff’s counsel’s characterization of the purpose of Sayer’s “previously existing company

 called NAVAGLOBAL.”

        3.      From the very beginning of Sayer's operation, the company has been working for

 several industrial fields in parallel, and not just in the food industry, including, by way of example


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 only, the automobile industry (mechanical parts and development design and manufacturing).

 Declaration of Mr. Zuniga at par. 2.

 Response:        Not disputed. However, Defendant does not have knowledge to agree or disagree

 with Plaintiff’s counsel’s characterization that “the company has been working for several

 industrial fields in parallel, and not just in the food industry.”

         4.      Viscofan S.A. is a Spanish company and parent company to a group of companies

 engaged in the manufacture and marketing of artificial casings for meat products. Declaration of

 Mr. Zuniga at par. "3".

 Response:        Disputed.     Viscofan S.A.’s activities include, but are not limited to, the

 manufacture and marketing of artificial casings for meat products. The Viscofan Group is active

 in, among other things, “the manufacture, distribution[,] and commercialization of all types of

 casings and films for food use.”              Consolidated Annual Accounts 2023 10 (2024),

 https://www.informeanual2023.viscofan.com/centro-de-descargas/assets/downloads/viscofan-

 ccaa-2023-en.pdf

         5.      On December 10, 2012, Sayer entered into a Confidentiality Agreement with

 Viscofan S.A. for the purpose of having Sayer develop and apply technological solutions for

 Viscofan S.A.'s “production plants and those of its investee companies according to Viscofan's

 requirements." Declaration of Mr. Zuniga at "3" and Exhibit "A" at par. C.

 Response:       Disputed. The referenced Exhibit A speaks for itself. However, Defendant does

 not agree with Plaintiff’s counsel’s characterization as to the purpose or scope of the referenced

 Confidentiality Agreement.

         6.      During the period of time when Sayer and Viscofan S.A. were collaborating in

 Spain, in the United States, Viscofan S.A. and its U.S. affiliates were exclusively focused on the



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 different methodologies off (sic) cellulous and fibrous casing manufacturing. Declaration of Mr.

 Zuniga at par. “3”．

 Response:      Disputed. Viscofan Collagen USA is part of a group of companies headed by its

 Spanish parent company Viscofan S.A. (collectively, the “Viscofan Group”). The Viscofan Group

 is a leading producer and distributor of artificial casings for the meat industry and over the years,

 including prior to its acquisition of Nitta Casings, Inc. (“Nitta”) has employed various

 manufacturing methodologies in Spain and in the U.S. Eguidazu Declaration at ¶ 3. The Viscofan

 Group’s trade secrets relate to drawings, data, machines, and parts of production lines in

 connection with belts, pulleys, and knotting machines which improve the quality, speed, product

 behavior, cost savings, and more efficient use of raw materials in the production process for the

 manufacture of meat product casings from cellulose, fibrose, plastic, and collagen, among other

 technologies and processes. Id at ¶ 7.

        7.      Sayer was not at any time involved with activities in the United States related to

 Viscofan S.A. or its affiliates in the United States, neither as collaborator nor as supplier.

 Declaration of Mr. Zuniga at par. "3".

 Response:      Disputed. The Viscofan Group is a leading producer and distributor of artificial

 casings for the meat industry and over the years, including prior to its acquisition of Nitta Casings,

 Inc. (“Nitta”) has employed various manufacturing methodologies in Spain and in the U.S.

 Eguidazu Declaration at ¶ 3. The Viscofan Group’s trade secrets relate to drawings, data,

 machines, and parts of production lines in connection with belts, pulleys, and knotting machines

 which improve the quality, speed, product behavior, cost savings, and more efficient use of raw

 materials in the production process for the manufacture of meat product casings from cellulose,

 fibrose, plastic, and collagen, among other technologies and processes. Id at ¶ 7.




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        8.      Viscofan S.A.'s first venture into the collagen manufacturing field in the United

 States was through its acquisition of Nitta in 2019. Declaration of Mr. Zuniga at par. "3".

 Response:      Disputed. The Viscofan Group is a leading producer and distributor of artificial

 casings for the meat industry and over the years, including prior to its acquisition of Nitta Casings,

 Inc. (“Nitta”) has employed various manufacturing methodologies in Spain and in the U.S.

 Eguidazu Declaration at ¶ 3. The Viscofan Group’s trade secrets relate to drawings, data,

 machines, and parts of production lines in connection with belts, pulleys, and knotting machines

 which improve the quality, speed, product behavior, cost savings, and more efficient use of raw

 materials in the production process for the manufacture of meat product casings from cellulose,

 fibrose, plastic, and collagen, among other technologies and processes. Id at ¶ 7.

        9.      Since Sayer's design and manufacturing work was in the collagen field and

 Viscofan S.A. was exclusively dedicated to cellulous and fibrous production in the U.S., there was

 not, and could not be, disclosure of any secrets or know-how in the cellulous design and

 manufacturing process. Declaration of Mr. Zuniga at par. "3".

 Response:      Disputed. The Viscofan Group trade secrets are relevant to numerous fields,

 including, but not limited to, the collagen field. Sayer had used the Viscofan Group trade secrets

 to expand its business capabilities and offerings to compete directly with the Viscofan Group.

 Eguidazu Declaration at ¶ 15. The Viscofan Group’s trade secrets relate to drawings, data,

 machines, and parts of production lines in connection with belts, pulleys, and knotting machines

 which improve the quality, speed, product behavior, cost savings, and more efficient use of raw

 materials in the production process for the manufacture of meat product casings from cellulose,

 fibrose, plastic, and collagen, among other technologies and processes. Id at ¶ 7.

        10.     Pursuant to par. "10" of the Confidentiality Agreement, Sayer and Viscofan S.A.




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 agreed that Spanish law was to be used to interpret the agreement and that the parties expressly

 submitted to the jurisdiction of Spain. Declaration of Mr. Zuniga at par. "4" and Exhibit "A".

 Response:       Disputed. The referenced Exhibit A speaks for itself. However, the dispute in this

 lawsuit and Sayer’s misappropriation is not subject to the referenced Exhibit A. Viscofan asserts

 claims under U.S. law against Sayer Technologies, S.L. (“Sayer”) for its unlawful acts occurring

 in the U.S. and resulting injury to Viscofan in the U.S. Eguidazu Declaration at ¶ 1; Am.

 Countercls., ECF No. 13.

        11.     While Sayer agreed to treat information disclosed to it by Viscofan S.A. as

 confidential, the Agreement does not prohibit Sayer from developing its own technology in the

 industry. Declaration of Mr. Zuniga at par. "5" and Exhibit "A".

 Response:       Not disputed. However, the referenced Agreement does not allow Sayer to use

 Viscofan’s trade secrets to develop its “own technology.”

        12.     On June 23, 2015, Sayer entered into a Technology and Trade Cooperation

 Agreement with Nitta Casings Inc. ("Nitta") for a collaboration with Nitta to contribute to the

 modernization of its product system. Declaration of Mr. Zuniga at par. "6" and Exhibit "B".

 Response:       Not disputed.

        13.     Nitta was a company located in Bridgewater, New Jersey and was engaged in the

 production of collagen for the food industry. Declaration of Mr. Zuniga at par. "6".

 Response:       Disputed. Plaintiff does not have evidence to support the statement regarding the

 full scope of activities that Nitta was engaged in other than testimony of Sayer’s own employee.

        14.     Pursuant to paragraph Four of the Technology and Trade Cooperation Agreement,

 "SAYER is free to exploit the results, patentable or not, which arose in certain projects referred to

 in this contract and owns full proprietary rights on those projects, particularly the Collagen Casing




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 Lines." Declaration of Mr. Zuniga at par. "7" and Exhibit "B".

 Response:       Not disputed. The referenced Exhibit B speaks for itself. Sayer is still bound by

 their NDAs with the Viscofan Group and cannot steal their trade secrets.

        15.     This relationship by and between Sayer and Nitta had nothing to do with Viscofan

 S.A. Declaration of Mr. Zuniga at par. "7".

 Response:       Disputed. Viscofan Collagen USA is part of a group of companies headed by its

 Spanish parent company Viscofan S.A. The Viscofan Group is a leading producer and distributor

 of artificial casings for the meat industry and over the years, including prior to its acquisition of

 Nitta Casings, Inc. (“Nitta”) has employed various manufacturing methodologies in Spain and in

 the U.S. Eguidazu Declaration at ¶ 3. The Viscofan Group collectively holds numerous patents

 worldwide as well as other valuable intellectual property, including trade secrets and other

 proprietary information. This valuable intellectual property belongs to the Viscofan Group as a

 whole. Id. at ¶ 6.

        16.     Paragraph Eight of the Technology and Trade Cooperation Agreement established

 that the courts in Pamplona, Spain have exclusive jurisdiction for the resolution of any dispute

 regarding the Agreement. Declaration of Mr. Zuniga at par. "7" and Exhibit "B".

 Response:       Not disputed. The referenced Exhibit B speaks for itself. However, the dispute in

 this lawsuit and Sayer’s misappropriation is not subject to this agreement. The causes of action in

 this lawsuit relate to actions and activities in the U.S. that fall outside of the referenced agreement

 that have impacted and injured Viscofan in the U.S. so the jurisdiction over the resolution of a

 dispute with Viscofan S.A. in Spain is not relevant to this case. Am. Countercls., ECF No. 13;

 Eguidazu Declaration at ¶ 16.

        17.     Thereafter, on August 28, 2015, Sayer and Nitta entered into a Contract Agreement




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 whereby Nitta purchased from Sayer a Collagen Line Machine "Line S". Declaration of Mr. Zuniga

 at par. "8" and "C".

 Response:        Not disputed.

        18.      Once again, this Contract Agreement provided for the governing law to be that of

 Spain and that exclusive jurisdiction was with the courts at Pamplona, Spain. Declaration of Mr.

 Zuniga at par. "811 and Exhibit "C" at par. 8.

 Response:        Not disputed. The referenced Exhibit C speaks for itself. However, the dispute in

 this lawsuit and Sayer’s misappropriation is not subject to the referenced Agreement. The causes

 of action in this lawsuit relate to actions and activities in the U.S. that fall outside of this agreement

 by Sayer that have impacted and injured Viscofan in the U.S. so the jurisdiction over the resolution

 of a dispute in Spain is not relevant to this case. Am. Countercls., ECF No. 13; Eguidazu

 Declaration at ¶ 16.

        19.      Between April and November 2019, Nitta ordered various supplies from Sayer for

 use with the Line S, including but not limited to belts. Declaration of Mr. Zuniga at par." 911 and

 Exhibit "D".

 Response:        Not disputed.

        20.      Those invoices also include costs for transportation as Sayer employees were to

 travel to Nitta's location, which trip was later cancelled by       Nitta. Declaration of Mr. Zuniga at

 par. "9" and Exhibit "D."

 Response:        Disputed. The referenced Exhibit D does not support Plaintiff’s averment.

        21.      On December 19, 2019, Nitta's President and CEO advised Sayer that payment was

 being sent out for outstanding invoices and further that it was purchased by Viscofan. Declaration

 of Mr. Zuniga at par. "10 " and Exhibit "E".




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 Response:       Disputed. Exhibit E states that “they will be sending payment” and makes no

 reference to invoices.

        22.     Thereafter, Nitta advised Sayer that Viscofan instructed the finance department to

 hold off on making payment until they reviewed everything. Declaration of Mr. Zuniga at par."11"

 and Exhibit "F".

 Response:       Not disputed. The referenced Exhibit F speaks for itself.

        23.     On November 2, 2016, Viscofan S.A. filed a lawsuit against Sayer in Spain to

 address their claims of alleged unfair competition. Declaration of Mr. Zuniga at par. "12" and

 Exhibit "G" at Background to the Facts.

 Response:       Disputed. The referenced lawsuit in Spain relates to the application of Spanish

 law to activities in Spain involving Viscofan S.A. and has no bearing on actions taken by Sayer in

 the U.S. and does not apply to Sayer’s unlawful acts occurring after the referenced lawsuit. The

 causes of action in the present lawsuit relate to actions and activities in the U.S. that have impacted

 and injured Viscofan Collagen USA in the U.S. Am. Countercls., ECF No. 13; Eguidazu

 Declaration at ¶ 16.

        24.     By Judgment entered on March 7, 2019, Viscofan S.A.'s claims were dismissed on

 the basis of the statute of limitations. Declaration of Mr. Zuniga at par. "12" and Exhibit "G".

 Response:       Disputed. The referenced Judgment relates to the application of Spanish law,

 including the applicable Spanish statute of limitations, to activities in Spain involving Viscofan

 S.A. and has no bearing on actions taken by Sayer in the U.S. and does not apply to Sayer’s

 unlawful acts occurring after the referenced Judgment. The causes of action in this lawsuit relate

 to actions and activities in the U.S. that fall outside of this Judgment that have impacted and injured

 Viscofan Collagen USA in the U.S. Am. Countercls., ECF No. 13; Eguidazu Declaration at ¶ 16.




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        25.      However, as noted in the Judgment, a full evidentiary hearing was commenced on

 June 28, 2018. Declaration of Mr. Zuniga at par. "12" and Exhibit "G" at FIVE of the Background

 to the Facts.

 Response:       Disputed. The Spanish courts never reached a final judgment on the merits on

 Viscofan S.A.’s claims. Pl.’s Ex. H, at PDF page 61, 73, ECF No. 28-3. The referenced Judgment

 relates to the application of Spanish law, including the applicable Spanish statute of limitations, to

 activities in Spain involving Viscofan S.A. and has no bearing on actions taken by Sayer in the

 U.S. and does not apply to Sayer’s unlawful acts occurring after the referenced Judgment. The

 causes of action in this lawsuit relate to actions and activities in the U.S. that fall outside of this

 Judgment that have impacted and injured Viscofan Collagen USA in the U.S. Am. Countercls.,

 ECF No. 13; Eguidazu Declaration at ¶ 16.

        26.      In reviewing the facts to support a finding that Viscofan S.A.'s claims were time

 barred, the Court stated the following:

                 In the case of this procedure, the only conclusion that may be
                 reached is that the action being exercised is statute barred since
                 more than one year has elapsed since the action could be exercised
                 without it being observed that continuing unfair conduct exists.
                 To this end, it is necessary to accurately determine what conduct
                 the defendant is being attributed with, which is simply the use of
                 knowledge acquired during its commercial relationship with
                 VISCOFAN S.A. relating to said company's plans, machinery,
                 and production process to market machines copied from the
                 plaintiff. In this respect, the fact that an order for pulleys was
                 placed in February 2016 with the company DINAMICA (exhibit
                 no. 24 of the claim) and in November 2015 an order for belts
                 was placed with the company AMMERAAL BELTECH, S.A.
                 (Exhibit no. 28 of the claim) is of no relevance in order for it to be
                 deemed that we are faced with a continuing act given that these are
                 instrumental acts to enable SAYER TECHNOLOGIES, S.L. to
                 manufacture a machine (a knotting machine) which it is stated the
                 defendants copied and sought to sell. Nevertheless, the fact that
                 SAYER TECHNOLOGIES, S.L. sought to sell one or several
                 machines of similar specifications to that developed by VISCOFAN
                 S.A. is a fact that has been known by the plaintiff since February 23,


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                  2015, as said party states and attests. Indeed, enclosed as exhibit
                  no. 17 to the claim is the email sent by the international sales
                  representative Mr. Horwath in which he reports to Mr. Kamis (of
                  VISCOFAN S.A.) that both himself and his colleague Mr. Kollross
                  have been contacted by SAYER TECHNOLOGIES, S.L.to place
                  on the market a machine which, in his opinion, bears highly similar
                  features to the knotting machine developed by VISCOFAN S.A.
                  From this point, the plaintiff is already accepting this circumstance
                  and is fully aware of the alleged activity carried out by SAYER
                  TECHNOLOGIES, S.L., as certified by exhibit no. 18 of the claim,
                  which is a notary record by means of which VISCOFAN S.A.
                  serves notice on SAYER TECHNOLOGIES, S.L. – through its
                  representative Mr. Legaz –with a letter calling on the company to
                  refrain from marketing the knotting machines and to hand over all
                  documentation and information relating to the designs, the
                  technology, and the know-how pertaining to the plaintiff.
                  Following that, there is only reference to a shipment of containers
                  by SAYER TECHNOLOGIES, S.L. to Nitta group, but under no
                  circumstances has it been certified that what those containers held
                  was technology built by SAYER TECHNOLOGIES, S.L. copied
                  from technology pertaining to VISCOFAN S.A.

  Exhibit "G" to the Declaration of Mr. Zuniga at pgs. 8-9.

  Response:      Disputed. The Spanish courts never reached a final judgment on the merits on

  Viscofan S.A.’s claims. Pl.’s Ex. H, at PDF page 61, 73, ECF No. 28-3. The referenced statement

  and Spanish case relates to the application of Spanish law, including the applicable Spanish statute

  of limitations, to activities in Spain involving Viscofan S.A. and has no bearing on actions taken

  by Sayer in the U.S. and does not apply to Sayer’s unlawful acts occurring after the referenced

  Judgment. The causes of action in this lawsuit relate to actions and activities in the U.S. that fall

  outside of this Judgment that have impacted and injured Viscofan Collagen USA in the U.S. Am.

  Countercls., ECF No. 13; Eguidazu Declaration at ¶ 16.

         27.     Viscofan S.A. appealed that decision with the Judgment entered against Viscofan

  on May 13, 2021. Declaration of Mr. Zuniga at par. "13" and Exhibit "H".

  Response:      Disputed. The Spanish courts never reached a final judgment on the merits on




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  Viscofan S.A.’s claims. Pl.’s Ex. H, at PDF page 61, 73, ECF No. 28-3. The subject of this appeal

  was the Spanish case which did not involve Defendant and was limited to claims arising under

  Spanish law (including the application of Spanish statute of limitations) for actions and injuries

  involving Viscofan S.A. in Spain and the referenced Judgment does not apply to Sayer’s unlawful

  acts occurring after the referenced Judgment. Am. Countercls., ECF No. 13; Eguidazu Declaration

  at ¶ 16.

           28.   As part of the appeal, the Court reviewed the technical issues and further addressed

  there being no evidence to support a claim of unfair competition. Declaration of Mr. Zuniga at par.

  “'13”.

  Response:      Disputed. The Spanish courts never reached a final judgment on the merits on

  Viscofan S.A.’s claims. Pl.’s Ex. H, at PDF page 61, 73, ECF No. 28-3. Sayer refers to dicta of

  the intermediate court to incorrectly assert that Viscofan’s unfair competition claim was decided

  on the merits. American Permac, Inc. v. United States, 800 F. Supp. 952, 956 n.7 (Ct. Int’l Trade

  1992) (“The ‘essential to the judgment’ or ‘necessarily decided’ requirement of collateral estoppel

  is designed to ensure that the tribunal in the first case took sufficient care in determining the issue

  sought to be precluded and did not merely decide that issue collaterally or in dicta.”). Further, the

  subject of this appeal was the Spanish case which did not involve Defendant and was limited to

  claims arising under Spanish law (including the application of Spanish statute of limitations) for

  actions and injuries involving Viscofan S.A. in Spain and the referenced Judgment does not apply

  to Sayer’s unlawful acts occurring after the referenced Judgment. Am. Countercls., ECF No. 13;

  Eguidazu Declaration at ¶ 16.

           29.   The Court continued as follows:

                  Also, the judicial version of events has not proven that Sayer had
                  manufactured and/or marketed knotting machines using Viscofan's



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                  secret technology, not even in relation to the one identified in August
                  2014, which must have been sold to Poland, and which constituted
                  grounds for the requisition dated February 23, 2015. This
                  requisition proves that the events reported by Viscofan were already
                  known by the time the demand was made for confidential data to
                  be handed over, but it does not prove that the famed replicated
                  knotting machine existed, nor does it attest to the precise
                  specifications of it.

  Exhibit "H" to the Declaration of Mr. Zuniga at pg. 9.

  Response:      Disputed. The Spanish courts never reached a final judgment on the merits on

  Viscofan S.A.’s claims. Pl.’s Ex. H, at PDF page 61, 73, ECF No. 28-3. Sayer refers to dicta of

  the intermediate court to incorrectly assert that Viscofan’s unfair competition claim was decided

  on the merits. American Permac, Inc. v. United States, 800 F. Supp. 952, 956 n.7 (Ct. Int’l Trade

  1992) (“The ‘essential to the judgment’ or ‘necessarily decided’ requirement of collateral estoppel

  is designed to ensure that the tribunal in the first case took sufficient care in determining the issue

  sought to be precluded and did not merely decide that issue collaterally or in dicta.”). Further, the

  subject of this appeal was the Spanish case which did not involve Defendant and was limited to

  claims arising under Spanish law (including the application of Spanish statute of limitations) for

  actions and injuries involving Viscofan S.A. in Spain and the referenced Judgment does not apply

  to Sayer’s unlawful acts occurring after the referenced Judgment. Am. Countercls., ECF No. 13;

  Eguidazu Declaration at ¶ 16.

         30.     At pg. 13 of the Judgment, the Court continued:

                  Mere competition on the market from the company Sayer, which
                  would hypothetically remain in possession of Viscofan's data that
                  it did not return on February 25, 2015 and which it had not
                  destroyed, is also not unfair competition. Indeed, this is not the
                  claim sought in the action.

  Exhibit "H" to the Declaration of Mr. Zuniga.

  Response:      Disputed. The Spanish courts never reached a final judgment on the merits on



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  Viscofan S.A.’s claims. Pl.’s Ex. H, at PDF page 61, 73, ECF No. 28-3. Sayer refers to dicta of

  the intermediate court to incorrectly assert that Viscofan’s unfair competition claim was decided

  on the merits. American Permac, Inc. v. United States, 800 F. Supp. 952, 956 n.7 (Ct. Int’l Trade

  1992) (“The ‘essential to the judgment’ or ‘necessarily decided’ requirement of collateral estoppel

  is designed to ensure that the tribunal in the first case took sufficient care in determining the issue

  sought to be precluded and did not merely decide that issue collaterally or in dicta.”). Further, the

  subject of this appeal was the Spanish case which did not involve Defendant and was limited to

  claims arising under Spanish law (including the application of Spanish statute of limitations) for

  actions and injuries involving Viscofan S.A. in Spain and the referenced Judgment does not apply

  to Sayer’s unlawful acts occurring after the referenced Judgment. Am. Countercls., ECF No. 13;

  Eguidazu Declaration at ¶ 16.

         31.     Finally, the Court noted at pg. 20 of the Judgment:

                  Consequently, there is no way of knowing whether there have been
                  technical coincidences in parts and machines; whether the
                  coincidences were technically preventable; or whether the
                  defendants possess anything physical or virtual in relation to
                  Viscofan's secrets. In view of the above, the general stipulation of
                  article 4 of the SUAC, which is founded on the undetermined legal
                  concept of objective good faith, is inappropriately invoked in the
                  claim for specific acts of said classification. In relation to these
                  acts, a certain requirement is absent in order for the relevant rule to
                  be able to apply to a specific case.

                  In short, the absence of evidence of the acts in relation to the statute
                  of limitations is tantamount to declaring the claim by Viscofan as
                  being unfeasible with regard to the merits of the case.

  Exhibit "H" to the Declaration of Mr. Zuniga.

  Response:      Disputed. The Spanish courts never reached a final judgment on the merits on

  Viscofan S.A.’s claims. Pl.’s Ex. H, at PDF page 61, 73, ECF No. 28-3. Sayer refers to dicta of

  the intermediate court to incorrectly assert that Viscofan’s unfair competition claim was decided



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  on the merits. American Permac, Inc. v. United States, 800 F. Supp. 952, 956 n.7 (Ct. Int’l Trade

  1992) (“The ‘essential to the judgment’ or ‘necessarily decided’ requirement of collateral estoppel

  is designed to ensure that the tribunal in the first case took sufficient care in determining the issue

  sought to be precluded and did not merely decide that issue collaterally or in dicta.”). Further, the

  subject of this appeal was the Spanish case which did not involve Defendant and was limited to

  claims arising under Spanish law (including the application of Spanish statute of limitations) for

  actions and injuries involving Viscofan S.A. in Spain and the referenced Judgment does not apply

  to Sayer’s unlawful acts occurring after the referenced Judgment. Am. Countercls., ECF No. 13;

  Eguidazu Declaration at ¶ 16.

         32.     Once again Viscofan S.A. appealed that decision which was upheld by Judgment

  entered on June 23, 2023. Declaration of Mr. Zuniga at par. "14" and Exhibit "I".

  Response:      Disputed. The Spanish courts never reached a final judgment on the merits on

  Viscofan S.A.’s claims. Pl.’s Ex. H, at PDF page 61, 73, ECF No. 28-3. The subject of this appeal

  was the Spanish case which did not involve Defendant and was limited to claims arising under

  Spanish law (including the application of Spanish statute of limitations) for actions and injuries

  involving Viscofan S.A. in Spain and the referenced Judgment does not apply to Sayer’s unlawful

  acts occurring after the referenced Judgment. Am. Countercls., ECF No. 13; Eguidazu Declaration

  at ¶ 16.

         33.     The Court noted:

                  Accordingly, following an overall examination of the evidence
                  reviewed, the judgment under appeal established that, beyond the
                  pleadings of the appealing party, none of the instances of the
                  conduct stated had been certified and the lack of evidence thereof
                  was even underlined. It went further and pointed out that if an
                  unlawful act had taken place, it would have been committed in
                  August 2014, meaning that by February 23, 2016 - one month
                  before the action was exercised - the action would have been



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                  statute barred.

  Exhibit "I" to the Declaration of Mr. Zuniga at pg. 6.

  Response:      Disputed. The Spanish courts never reached a final judgment on the merits on

  Viscofan S.A.’s claims. Pl.’s Ex. H, at PDF page 61, 73, ECF No. 28-3. The subject of this appeal

  was the Spanish case which did not involve Defendant and was limited to claims arising under

  Spanish law (including the application of Spanish statute of limitations) for actions and injuries

  involving Viscofan S.A. in Spain and the referenced Judgment does not apply to Sayer’s unlawful

  acts occurring after the referenced Judgment Am. Countercls., ECF No. 13; Eguidazu Declaration

  at ¶ 16.

         34.     With respect to the issue of the belts, Viscofan Collagen USA Inc., the party in this

  action, commenced an action in Spain alleging, among other things, that the belts were defective

  and as a result they lost money. Declaration of Mr. Zuniga at par. "15".

  Response:       Not disputed. However, this fails to establish that the issues central to Viscofan’s

  Breach of Warranty Claims were adjudicated by the court in Spain. Instead, Sayer shows only that

  a different, distinct issue—whether the belts were defective—was adjudicated in Spain. Spring

  Motors Distribs., Inc. v. Ford Motor Co., 489 A.2d 660, 676 (N.J. 1985) (“the plaintiff in a

  warranty action need not establish the existence of a defect; the failure of the goods to perform

  as warranted is sufficient.”) (emphasis added).

         35.     A Judgment was entered on December 23, 2022 which denied any recovery as there

  was no evidence of a design flaw. Declaration of Mr. Zuniga at par. "15" and Exhibit "J".

  Response:       Disputed. Defendant disagrees with Plaintiff’s counsel’s characterization that

  Defendant was “denied any recovery” in this action. Further, this fails to establish that the issues

  central to Viscofan’s Breach of Warranty Claims were adjudicated by the court in Spain. Instead,




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  Sayer shows only that a different, distinct issue—whether there was a design flaw—was

  adjudicated in Spain. Spring Motors Distribs., Inc. v. Ford Motor Co., 489 A.2d 660, 676 (N.J.

  1985) (“the plaintiff in a warranty action need not establish the existence of a defect; the failure

  of the goods to perform as warranted is sufficient.”) (emphasis added).

         36.     While Sayer filed an appeal with respect to an issue unrelated to the belts, Viscofan

  Collagen USA did not appeal any part of the Judgment, including the determination that there was

  no evidence of a design flaw with the belts, and therefore they accepted the Judgment on that issue.

  Declaration of Mr. Zuniga at par. "15".

  Response:       Not disputed. However, this fails to establish that the issues central to Viscofan’s

  Breach of Warranty Claims were adjudicated by the court in Spain. Instead, Sayer shows only that

  a different, distinct issue—whether there was a design flaw—was adjudicated in Spain. Spring

  Motors Distribs., Inc. v. Ford Motor Co., 489 A.2d 660, 676 (N.J. 1985) (“the plaintiff in a

  warranty action need not establish the existence of a defect; the failure of the goods to perform

  as warranted is sufficient.”) (emphasis added).

         37.     After considering both Viscofan's expert as well as the Court appointed expert, the

  Court determined there was no "design failure, since it has not been proven that they cannot

  withstand the temperature and humidity conditions in that zone. On the contrary, belt modifications

  and replacements were carried out by the defendant up to the change of ownership. Finally, the

  S-line production data do not prove a causal link to the green belts breaking." Declaration of Mr.

  Zuniga at Exhibit "K" at pg. 58.

  Response:       Not disputed. The referenced Spanish court’s opinion speaks for itself. However,

  this fails to establish that the issues central to Viscofan’s Breach of Warranty Claims were

  adjudicated by the court in Spain. Instead, Sayer shows only that a different, distinct issue—




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  whether there was a design flaw—was adjudicated in Spain. Spring Motors Distribs., Inc. v. Ford

  Motor Co., 489 A.2d 660, 676 (N.J. 1985) (“the plaintiff in a warranty action need not establish

  the existence of a defect; the failure of the goods to perform as warranted is sufficient.”) (emphasis

  added).

         38.     With respect to the Court appointed expert’s report, the Court noted "the technical

  specifications of the HABASIT belt model T2- S - molded in TPU 10 and chosen by SAYER

  TECHNOLOGIES S.L. for the Neutralization, Drying and Wetting Zones-fulfill the requirements

  of the working environment referred by VISCOFAN COLLAGEN USA INC., which are, on the

  other hand, approximate (~) and incomplete (?), as the Table demonstrates." Exhibit "K" to the

  Declaration of Mr. Zuniga at pg. 60.

  Response:       Not disputed. The referenced Spanish court’s opinion speaks for itself. However,

  this fails to establish that the issues central to Viscofan’s Breach of Warranty Claims were

  adjudicated by the court in Spain. Instead, Sayer shows only that a different, distinct issue—

  whether the technical specifications of a belt model fulfilled the requirements of the working

  environment —was adjudicated in Spain.

         39.     The Court continued:

                  Having established this, there is no objective proof that links the
                  break of the green belts to the material chosen by Sayer. There is
                  no proof of the defendant's claim that the material does not
                  withstand the high temperature and humidity of the plant working
                  conditions. The video and the three photographs of the supposed
                  rusting are clearly insufficient proof to establish this claim.

  Declaration of Mr. Zuniga at Exhibit "K" at pg. 61.

  Response:      Not disputed. The referenced Spanish court’s opinion speaks for itself. However,

  this fails to establish that the issues central to Viscofan’s Breach of Warranty Claims were

  adjudicated by the court in Spain. Instead, Sayer shows only that a different, distinct issue was



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  adjudicated in Spain. Spring Motors Distribs., Inc. v. Ford Motor Co., 489 A.2d 660, 676 (N.J.

  1985) (“the plaintiff in a warranty action need not establish the existence of a defect; the failure

  of the goods to perform as warranted is sufficient.”) (emphasis added).

         40.     In conclusion on this issue, the Court stated "[b]oth the invoices and the break

  history prove the existence of a damage but not the defendant's responsibility for the damage or,

  in short, that the cause for the defect or the break of the green belts is their manufacturing from an

  inadequate material (HABASIT Model T20-S). The defect has not been proven." Declaration of

  Mr. Zuniga at Exhibit "K" at pg. 61-62.

  Response:       Not disputed. The referenced Spanish court’s opinion speaks for itself. However,

  this fails to establish that the issues central to Viscofan’s Breach of Warranty Claims were

  adjudicated by the court in Spain. Instead, Sayer shows only that a different, distinct issue—

  whether there was a design flaw—was adjudicated in Spain. Spring Motors Distribs., Inc. v. Ford

  Motor Co., 489 A.2d 660, 676 (N.J. 1985) (“the plaintiff in a warranty action need not establish

  the existence of a defect; the failure of the goods to perform as warranted is sufficient.”) (emphasis

  added).

         41.     The supporting Court appointed expert's report is provided as Exhibit "K" to the

  Declaration of Mr. Zuniga.

  Response:       Not disputed.

         42.     All of the issues set forth in Viscofan Collagen's Counterclaims have been decided

  by the Courts in Spain as against Viscofan Collagen and Viscofan S.A. who initiated the actions

  in Spain. Declaration of Mr. Zuniga at par. "17".

  Response:      Disputed. The Spanish courts never reached a final judgment on the merits on

  Viscofan S.A.’s claims. Pl.’s Ex. H, at PDF page 61, 73, ECF No. 28-3. Further, the Spanish case




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  did not involve Defendant Viscofan Collagen USA and was limited to claims arising under Spanish

  law (including the application of Spanish statute of limitations) for actions and injuries involving

  Viscofan S.A. in Spain. The issues set forth in Viscofan USA’s counterclaims are properly before

  this Court and have not been decided in any other jurisdiction.

         43.       According to the corporate searches performed in this matter, the Defendant/

  Counterclaim Plaintiff in this case, Viscofan Collagen, was incorporated in Delaware in 2019 and

  registered to do business in New Jersey at the same time. Declaration of Mr. Zuniga at par."18"

  and Exhibit "L" which includes the following records from Delaware and New Jersey recording

  offices:

             (A)   Nitta Casings, Inc. Certificate of Authorization filed July 15, 1996 showing it was

  incorporated in Delaware;

             (B)    Nitta Casings, Inc. Application for Amended Certificate of Authority to change

  its name to Viscofan Collagen USA Inc. filed on December 20, 2019;

             (C)   Delaware's certification that Viscofan Collagen USA Inc. was incorporated in

  Delaware with the date of incorporation relating back to Nitta's incorporation of July 9, 1996;

             (D)   Certificate of Change of Registered Office and/or Registered Agent for Viscofan

  Collagen USA Inc. filed January 23, 2020 noting Delaware incorporation;

             (E)   Viscofan Collagen USA Inc.'s Certificate of Pending Withdrawal filed July 5,

  2022 regarding termination of the entity;

             (F)   Certificate of Withdrawal dated June 27, 2022 confirming the corporation is not

  transacting business activities in New Jersey.

  Response:        Disputed. See Ex. L, at PDF page 184, ECF No. 28-4 ("I do hereby certify that

  the said 'Viscofan Collagen USA Inc.' was incorporated on the ninth day of July, a.d. 1996.").




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         44.     There does not appear to be an entity which officially assumed the prior Nitta entity.

  Declaration of Mr. Zuniga at par. “18”.

  Response:       Disputed. Viscofan S.A. acquired Nitta Casings Inc. (“Nitta”); Viscofan

  Collagen USA is a successor in interest to Nitta. Eguidazu Declaration at ¶ 17.


                                                                Dated: November 26, 2024

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